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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                       MDL NO. 2924
   PRODUCTS LIABILITY                                                                20-MD-2924
   LITIGATION

                                                          JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

                                                /

                          MOTION FOR INDICATIVE RULING IN
                            GENERIC-ONLY CASES ON APPEAL
                       AND INCORPORATED MEMORANDUM OF LAW

          The Generic Manufacturer and Repackager Defendants (“Generic Defendants”) 1 submit

   this motion and incorporated memorandum of law for an indicative ruling in Generic-Only cases

   currently pending on appeal and in support thereof state as follows:

          This Court’s March 2, 2023 Indicative Ruling Order applied to Retailer Defendants and

   Generic Defendants in Mixed-Generic cases in which a Rule 54(b) final judgment had been

   entered. The Court found that entering one final judgment across all claims and parties was

   preferable to avoid piecemeal appeals before multiple appellate panels. In order to avoid

   piecemeal appeals and multiple panels, however, this Court’s indicative ruling order must be

   expanded to include Generics-Only cases already on appeal. The reasons given by the Court for

   issuing an indicative ruling are equally persuasive when applied to these cases and no party will



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    Defendant Par Pharmaceutical, Inc. filed a voluntary petition for relief under title 11 of the
   United States Code on August 16, 2022 (the “Petition Date”) in the United States Bankruptcy
   Court for the Southern District of New York. Pursuant to section 362(a) of the Bankruptcy
   Code, an automatic stay has been in effect since the Petition Date. See Dkt. No. 5948. This
   motion is not filed on behalf of Par Pharmaceutical, Inc.
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   suffer prejudice from the entering of an indicative ruling. Accordingly, Generic Defendants

   move this Court for an order expanding the March 2, 2023 indicative ruling to include all

   Generics-Only cases pending appeal.

                                FACTS AND PROCEDURAL HISTORY

            By orders issued in 2020 and 2021, this Court dismissed all claims against Generic

   Defendants as preempted by federal law. [D.E. 2512; D.E. 3750]. Multiple Plaintiffs appealed

   the preemption rulings. The appeals include cases solely against Generic Defendants (“Generic-

   Only Cases”) and cases that name Generic Defendants and at least one other category of

   Defendant (“Mixed-Generic Cases”). The appeals have been stayed due to pending bankruptcy

   proceedings involving one of the defendants.

            The parties filed multiple motions requesting final judgment. On November 15, 2021, the

   Court entered Rule 58(a) final judgment in favor of Generic Defendants in Generic-Only Cases

   pending appeal and Rule 54(b) final judgment in favor of Generic Defendants in Mixed-Generic

   Cases. [D.E. 4664]. Hundreds of individual plaintiffs with Mixed-Generic Cases appealed from

   the Court’s judgment. In contrast, the Court entered Rule 58(a) judgment as to only 18 total

   Generic-Only Cases. [D.E. 4664]. The Court also entered Rule 54(b) final judgment in favor of

   Retailer Defendants on all counts except Count VII. [D.E. 4664].

            On December 6, 2022, this Court entered a ruling on general causation in favor of Brand

   Defendants, finding that Plaintiffs had failed to meet their burden to show that ranitidine has the

   potential to cause the Designated Cancers. 2 [D.E. 6120]. The Court also granted Brand

   Defendants summary judgment. [D.E. 6120].



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       Designated Cancers are bladder, esophageal, pancreatic, stomach, and liver cancer.
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          On January 26, 2023, Distributor and Retailer Defendants filed a motion for an indicative

   ruling pursuant to FRCP 62.1. [6233]. The next day, Generic Defendants filed a motion for 58(a)

   final judgment in Generic-Only cases not pending appeal. [D.E. 6237]. While Generic

   Defendants did not join in Retailer Defendants request for an indicative ruling, they indicated

   that if the Court were inclined to grant the motion for an indicative ruling, Generic Defendants

   reserved the right to ask that the indicative ruling extend to Generic Defendants and reserved the

   right generally to seek a modified judgment applying the general causation ruling to Generic

   Defendants. [D.E. 6327 at 16 n.4].

          On February 28, 2023, this Court issued an order directing Plaintiffs to show cause by

   April 17, 2023 why the Court’s Daubert ruling should not apply to the non-Brand Defendants in

   cases involving Designated Cancers and listed seven reasons why the Court was inclined to rule

   that the causation ruling applied to all Defendants. [D.E. 6303]. On March 2, 2023, this Court

   issued its ruling on Retailer Defendants’ motion for an indicative ruling. [D.E. 6310]. The Court

   said that if the Eleventh Circuit were to remand the case to the District Court, the Court would

   vacate its Rule 54(b) judgment in order to resolve any remaining issues and enter a single final

   judgment in favor of all Defendants pursuant to Rule 58. [D.E. 6310 at 2].

          In its ruling on the motion for an indicative order, the Court set forth the reasons why it

   believed that a single, final judgment was preferable in this case, including the desire for an

   efficient appellate process. [D.E. 6310 at 11-14]. In a footnote, this Court acknowledged that

   Generic Defendants had not expressly sought an indicative ruling but said that its analysis of the




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   wisdom of an indicative ruling applies to Generic Defendants with the same force as the Retailer

   Defendants. [D.E. 6310 at 2 n.2]. Thus, the Court issued an indicative ruling that extends to the

   hundreds of pending appeals involving Rule 54(b) final judgments entered in favor of both

   Generic and Retailer Defendants. [D.E. 6310 at 6, 14-15]. Generic Defendants hereby move to

   extend the indicative ruling order to the 18 Generic-Only cases pending appeal.

                                              ARGUMENT

          This Court’s persuasive reasons for issuing an order for an indicative ruling in the

   Rule 54(b) final judgment cases pending appeal extend to the Generics-Only Rule 58(a) final

   judgment cases pending appeal. Accordingly, Generic Defendants move this Court for an order

   stating that if the Eleventh Circuit returned jurisdiction, the Court would vacate the Rule 58(a)

   final judgment on preemption, resolve any remaining issues, and enter a new Rule 58(a) final

   judgment addressing both causation and preemption. Just as it will for the Rule 54(b) cases, this

   will allow the Court to enter judgment on all outstanding issues and consolidate the judgments

   for a single appeal.

          Where a motion is made that a district court is without authority to grant because of a

   pending appeal, Federal Rule of Civil Procedure 62.1 allows the court to state that it would grant

   the motion if the case were remanded or that the motion raises a substantial issue. Fed. R. Civ.

   P. 62.1. Federal Rule of Appellate Procedure 12.1 allows an appellate court to remand for further

   proceedings where a district court issues an order declaring that it would grant the motion upon

   remand or that it raises a substantial issue. Fed. R. App. P. 12.1.

          This Court found in its Indicative Ruling Order that, now that there is “ample time” for

   all issues from the MDL to be combined into a single appeal, there is no reason for multiple

   appellate panels to familiarize themselves with the complicated facts and procedural history at
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   issue here. [D.E. 6310 at 13]. This same public policy of judicial efficiency applies equally to the

   Generics-Only cases on appeal from a Rule 58(a) final judgment. In fact, without an indicative

   order that covers all the Generics-Only Rule 58(a) final judgments, this Court’s intent with

   respect to the Rule 54(b) judgments will not be satisfied. The appeals will still take place

   piecemeal, and two panels will still be necessary.

          To be clear, Generic Defendants ask that the indicative order cover both Designated and

   Non-Designated Cancers. Although the Court’s Daubert ruling applies only to Designated

   Cancers, the preemption ruling covers both. If the indicative order does not extend to Non-

   Designated Cancers, the appeal of the preemption ruling will remain alive as to a small handful

   of cases, which will defeat this Court’s intent to combine all appellate issues.

          In Pretrial Order 81, this Court set forth the procedure that plaintiffs who wish to pursue

   claims involving Non-Designation Cancers must follow. This Court should indicate that if the

   Eleventh Circuit remands the Non-Designated Generics-Only cases on appeal, it would vacate

   the Rule 58(a) judgments and instruct the plaintiffs to follow the procedure outlined in PTO 81

   for plaintiffs who wish to pursue cases involving Non-Designated Cancers.

          Remand in the Generic-Only Rule 58(a) cases will not cause prejudice to any party for

   the same reasons that remand in the Rule 54(b) cases will not cause prejudice—the appeal has

   been stayed and the briefs not yet filed. To truly effectuate the goal of this Court’s Indicative

   Ruling Order, the order should be extended to all Generics-Only cases currently pending appeal.

          Finally, Plaintiffs’ claim that an indicative ruling cannot be granted because Defendants

   failed to file a predicate motion for relief is no more persuasive here than it was in the Rule 54(b)

   cases. As the Court noted, a motion for an indicative ruling is frequently construed as an



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   underlying motion for relief. [D.E. 6310 at 8]. In this Motion, Generic-Defendants are seeking

   relief from judgment pursuant to Rule 60(b)(6) for all of the reasons discussed above.

                                           CONCLUSION

          For the foregoing reasons, the Generic Manufacturer Defendants respectfully request that

   this Court enter the proposed final judgment order attached to their Motion for Indicative Ruling

   filed herewith.



    Dated: March 13, 2023                              Respectfully submitted,

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